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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                      Greenbelt Division

LATONYA PYATT,

                 Plaintiff,

v.                                                    Case No.: 8:18-cv-03635-PWG

SANTANDER CONSUMER USA INC., et
al.,

                 Defendants.


                                         SC’S ANSWER

        Defendant, Santander Consumer USA Inc. (“SC” or “Defendant”), by counsel, hereby

states the following as its Answer to the Complaint filed by Plaintiff, LaTonya Pyatt

(“Plaintiff”):

        Defendant expressly denies any allegation included in the Complaint that is not expressly

admitted herein, including without limitation Plaintiff’s introductory discourse and prayer for

relief. Defendant denies that Plaintiff is entitled to the damages and relief requested from

Defendant in the Complaint.

                                    PRELIMINARY STATEMENT

        1.       In response to paragraph 1 of the Complaint, SC admits that Plaintiff purports to

bring an action under the Federal Fair Credit Reporting Act, 15 U.S.C. §§ 1681, et seq.

(“FCRA”), and Federal Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692, et seq.

(“FDCPA”). As to the balance of the allegations in this paragraph, such allegations are denied.

Defendant expressly denies that it is liable to Plaintiff in any amount or for any reason.
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                                    PARTIES TO THE ACTION

       2.      In response to paragraph 2 of the Complaint, SC admits that Plaintiff is a natural

person but lacks information sufficient to admit or deny the allegation that Plaintiff resides in

District Heights, Maryland.

       3.      In response to paragraph 3 of the Complaint, SC admits that it was incorporated in

1981, operates as a subsidiary of Santander Consumer USA Holdings Inc., and maintains its

headquarters in Dallas, Texas. As to the balance of the allegations in this paragraph, such

allegations are denied as stated.

       4.      Defendant lacks sufficient information to admit or deny the allegations in

paragraph 4 of the Complaint and therefore denies the same.

       5.      Defendant lacks sufficient information to admit or deny the allegations in

paragraph 5 of the Complaint and therefore denies the same.

       6.      Defendant lacks sufficient information to admit or deny the allegations in

paragraph 6 of the Complaint and therefore denies the same.

       7.      Plaintiff has omitted paragraph 7 from the Complaint, and no response is required.

       8.      Plaintiff has omitted paragraph 8 from the Complaint, and no response is required.

       9.      Plaintiff has omitted paragraph 9 from the Complaint, and no response is required.

       10.     The allegations in paragraph 10 of the Complaint constitute a legal conclusion to

which no response is required.

       11.     The allegations in paragraph 11 of the Complaint constitute a legal conclusion to

which no response is required.

       12.     The allegations in paragraph 12 of the Complaint constitute a legal conclusion to

which no response is required.




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                                    FACTUAL ALLEGATIONS

       13.     Paragraph 13 of the Complaint references a document, which speaks for itself. To

the extent the allegations are inconsistent with such document, misrepresent its content or legal

import, or are materially incomplete, they are denied. As to the balance of the allegations in this

paragraph, if any, Defendant lacks sufficient information to admit or deny such allegations and

therefore denies the same.

       14.     Paragraph 14 of the Complaint references multiple documents, which speak for

themselves. To the extent the allegations are inconsistent with such documents, misrepresent

their content or legal import, or are materially incomplete, they are denied. As to the balance of

the allegations in this paragraph, if any, Defendant lacks sufficient information to admit or deny

such allegations and therefore denies the same.

       15.     The allegations in paragraph 15 of the Complaint are denied.

       16.     The allegations in paragraph 16 of the Complaint are denied.

       17.     Paragraph 17 of the Complaint references multiple documents, which speak for

themselves. To the extent the allegations are inconsistent with such documents, misrepresent

their content or legal import, or are materially incomplete, they are denied. As to the balance of

the allegations in this paragraph, if any, Defendant lacks sufficient information to admit or deny

such allegations and therefore denies the same.

       18.     The allegations in paragraph 18 of the Complaint are denied.

       19.     Defendant lacks sufficient information to admit or deny the allegations in

paragraph 19 of the Complaint and therefore denies the same.

       20.     Paragraph 20 of the Complaint references a document, which speaks for itself. To

the extent the allegations are inconsistent with such document, misrepresent its content or legal




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import, or are materially incomplete, they are denied. As to the balance of the allegations in this

paragraph, if any, Defendant lacks sufficient information to admit or deny such allegations and

therefore denies the same.

       21.     Paragraph 21 of the Complaint references a document, which speaks for itself. To

the extent the allegations are inconsistent with such document, misrepresent its content or legal

import, or are materially incomplete, they are denied. As to the balance of the allegations in this

paragraph, if any, Defendant lacks sufficient information to admit or deny such allegations and

therefore denies the same.

                              COUNT ONE: VIOLATIONS OF FDCPA

       22.     In response to paragraph 22 of the Complaint, Defendant incorporates by

references its responses to Paragraphs 1-21, as if set forth in full herein.

       23.     As the allegations in paragraph 23 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       24.     As the allegations in paragraph 24 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.

       25.     As the allegations in paragraph 25 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.

       26.     As the allegations in paragraph 26 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.

                       COUNT TWO: VIOLATIONS OF FCRA, § 1681S-2(b)
                       (As to Defendants Santander, NCB, AIR, and ECR)

       27.     In response to paragraph 27 of the Complaint, Defendant incorporates by

references its responses to Paragraphs 1-26, as if set forth in full herein.



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       28.     Paragraph 28 of the Complaint references multiple documents, which speak for

themselves. To the extent the allegations are inconsistent with such documents, misrepresent

their content or legal import, or are materially incomplete, they are denied. As to the balance of

the allegations in this paragraph, if any, Defendant lacks sufficient information to admit or deny

such allegations and therefore denies the same.

       29.     Paragraph 29 of the Complaint references multiple documents, which speak for

themselves. To the extent the allegations are inconsistent with such documents, misrepresent

their content or legal import, or are materially incomplete, they are denied. As to the balance of

the allegations in this paragraph, Defendant lacks sufficient information to admit or deny such

allegations and therefore denies the same.

       30.     Paragraph 30 of the Complaint references a document, which speaks for itself. To

the extent the allegations are inconsistent with such document, misrepresent its content or legal

import, or are materially incomplete, they are denied. As to the balance of the allegations in this

paragraph, Defendant lacks sufficient information to admit or deny such allegations and

therefore denies the same.

       31.     Paragraph 31 of the Complaint references multiple documents, which speak for

themselves. To the extent the allegations are inconsistent with such documents, misrepresent

their content or legal import, or are materially incomplete, they are denied. As to the balance of

the allegations in this paragraph, if any, Defendant lacks sufficient information to admit or deny

such allegations and therefore denies the same.

       32.     Paragraph 32 of the Complaint references a document, which speaks for itself. To

the extent the allegations are inconsistent with such document, misrepresent its content or legal

import, or are materially incomplete, they are denied. As to the balance of the allegations in this




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paragraph, if any, Defendant lacks sufficient information to admit or deny such allegations and

therefore denies the same.

        33.    The allegations in paragraph 33 of the Complaint are denied to the extent the

allegations in this paragraph relate to SC. As to the balance of the allegations in this paragraph,

Defendant lacks sufficient information to admit or deny such allegations and therefore denies the

same.

        34.    Paragraph 34 of the Complaint references multiple documents, which speak for

themselves. To the extent the allegations are inconsistent with such documents, misrepresent

their content or legal import, or are materially incomplete, they are denied. As to the balance of

the allegations in this paragraph, if any, such allegations are denied.

        35.    In response to paragraph 35 of the Complaint, SC admits that one or more credit

reporting agencies have previously forwarded credit reporting disputes from Plaintiff. As to the

balance of the allegations in this paragraph, Defendant lacks sufficient information to admit or

deny such allegations and therefore denies the same.

        36.    The allegations in paragraph 36 of the Complaint are denied to the extent the

allegations in this paragraph relate to SC. As to the balance of the allegations in this paragraph,

Defendant lacks sufficient information to admit or deny such allegations and therefore denies the

same.

        37.    The allegations in paragraph 37 of the Complaint are denied to the extent the

allegations in this paragraph relate to SC. The allegations in this paragraph also reference

multiple documents, which speak for themselves. To the extent the allegations are inconsistent

with such documents, misrepresent their content or legal import, or are materially incomplete,




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they are denied. As to the balance of the allegations in this paragraph, Defendant lacks sufficient

information to admit or deny such allegations and therefore denies the same.

       38.     Paragraph 38 of the Complaint references multiple documents, which speak for

themselves. To the extent the allegations are inconsistent with such documents, misrepresent

their content or legal import, or are materially incomplete, they are denied. As to the balance of

the allegations in this paragraph, if any, such allegations are denied.

       39.     In response to paragraph 39 of the Complaint, SC admits that Plaintiff sent a letter

to SC relating to the repossession of a vehicle. Regarding the contents of this letter, the

document speaks for itself. To the extent the allegations are inconsistent with such document,

misrepresent its content or legal import, or are materially incomplete, they are denied. As to the

balance of the allegations in this paragraph, such allegations are denied.

       40.     In response to paragraph 40 of the Complaint, SC admits that one or more credit

reporting agencies have previously forwarded credit reporting disputes from Plaintiff. As to the

balance of the allegations in this paragraph, Defendant lacks sufficient information to admit or

deny such allegations and therefore denies the same.

       41.     Defendant lacks sufficient information to admit or deny the allegations in

paragraph 41 of the Complaint and therefore denies the same. The allegations in the second

paragraph of the Complaint labelled as paragraph 41 are denied.

       42.     Paragraph 42 of the Complaint references a document, which speaks for itself. To

the extent the allegations are inconsistent with such document, misrepresent its content or legal

import, or are materially incomplete, they are denied. As to the balance of the allegations in this

paragraph, if any, Defendant lacks sufficient information to admit or deny such allegations and




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therefore denies the same. The allegations in the second paragraph of the Complaint labelled as

paragraph 42 are denied.

       43.    Defendant lacks sufficient information to admit or deny the allegations in

paragraph 43 of the Complaint and therefore denies the same. The allegations in the second

paragraph of the Complaint labelled as paragraph 43 are denied.

       44.    The allegations in paragraph 44 of the Complaint are denied. The allegations in

the second paragraph of the Complaint labelled as paragraph 44 are denied.

       45.    The allegations in paragraph 45 of the Complaint are denied.

       46.    The allegations in paragraph 46 of the Complaint are denied.

       47.    The allegations in paragraph 47 of the Complaint are denied.

       48.    The allegations in paragraph 48 of the Complaint are denied.

       49.    The allegations in paragraph 49 of the Complaint are denied.

       50.    The allegations in paragraph 50 of the Complaint are denied.

       51.    The allegations in paragraph 51 of the Complaint are denied.

       52.    The allegations in paragraph 52 of the Complaint are denied.

       53.    The allegations in paragraph 53 of the Complaint are denied.

       54.    The allegations in paragraph 54 of the Complaint are denied.

       55.    The allegations in paragraph 55 of the Complaint are denied.

       56.    The allegations in paragraph 56 of the Complaint are denied.

       57.    The allegations in paragraph 57 of the Complaint are denied.

       58.    The allegations in paragraph 58 of the Complaint are denied.

       59.    The allegations in paragraph 59 of the Complaint are denied.




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                    COUNT THREE: VIOLATIONS OF FCRA, §§ 1681e & 1681i
                                 (As to Defendant CRAs)

       60.     In response to paragraph 60 of the Complaint, Defendant incorporates by

references its responses to Paragraphs 1-59, as if set forth in full herein.

       61.     As the allegations in paragraph 61 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       62.     As the allegations in paragraph 62 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied to the

extent the allegations in this paragraph relate to SC. As to the balance of the allegations in this

paragraph, Defendant lacks sufficient information to admit or deny such allegations and

therefore denies the same.

       63.     As the allegations in paragraph 63 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied to the

extent the allegations in this paragraph relate to SC. As to the balance of the allegations in this

paragraph, Defendant lacks sufficient information to admit or deny such allegations and

therefore denies the same.

       64.     Paragraph 64 of the Complaint references a document, which speaks for itself. To

the extent the allegations are inconsistent with such document, misrepresent its content or legal

import, or are materially incomplete, they are denied. As to the balance of the allegations in this

paragraph, if any, Defendant lacks sufficient information to admit or deny such allegations and

therefore denies the same.

       65.     As the allegations in paragraph 65 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.



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       66.     As the allegations in paragraph 66 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.

       67.     As the allegations in paragraph 67 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.

       68.     As the allegations in paragraph 68 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       69.     As the allegations in paragraph 69 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       70.     As the allegations in paragraph 70 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       71.     As the allegations in paragraph 71 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       72.     As the allegations in paragraph 72 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       73.     As the allegations in paragraph 73 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.




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       74.     As the allegations in paragraph 74 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       75.     As the allegations in paragraph 75 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       76.     As the allegations in paragraph 76 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       77.     As the allegations in paragraph 77 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       78.     As the allegations in paragraph 78 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       79.     As the allegations in paragraph 79 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       80.     As the allegations in paragraph 80 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.

       81.     As the allegations in paragraph 81 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.




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       82.     As the allegations in paragraph 82 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, such allegations are denied.

                       COUNT FOUR: VIOLATIONS OF FCRA, § 1681g(a)
                               (As to Defendant Experian)

       83.     As the allegations in paragraph 83 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       84.     As the allegations in paragraph 84 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       85.     As the allegations in paragraph 85 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       86.     As the allegations in paragraph 86 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       87.     As the allegations in paragraph 87 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

       88.     As the allegations in paragraph 88 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.




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        89.      As the allegations in paragraph 89 of the Complaint are not directed at SC, no

response is required. To the extent a response is required, Defendant lacks sufficient information

to admit or deny such allegations and therefore denies the same.

                                         PRAYER FOR RELIEF

        Defendant denies that the Plaintiff is entitled to the damages and relief requested in any

of the Plaintiff’s “WHEREFORE” clauses in the Complaint.

                                    DEMAND FOR TRIAL BY JURY

        Defendant admits that the Plaintiff demands a jury trial in her Complaint, but states that

this is a legal conclusion which requires no response from Defendant. Defendant further denies

that any conduct by Defendant gives rise to liability in favor of the Plaintiff.

                                SC’S AFFIRMATIVE DEFENSES

        Defendant, Santander Consumer USA Inc. (“SC” or “Defendant”), by counsel, hereby

states the following affirmative defenses against the Complaint filed by Plaintiff, LaTonya Pyatt

(“Plaintiff”):

        1.       Plaintiff’s Complaint fails to state a viable claim against Defendant upon which

the relief requested may be granted.

        2.       Plaintiff’s Complaint fails to provide sufficient facts to state a viable claim against

Defendant upon which the relief requested may be granted.

        3.       Defendant denies that it violated any provisions of the FCRA as alleged in the

Complaint.

        4.       Defendant denies that it is liable to Plaintiff in any amount or for any reason.

        5.       Plaintiff’s claims fail, in whole or in part, because Defendant never received

requisite notice of Plaintiff’s credit dispute, as required under the FCRA.




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          6.    Plaintiff’s claims are barred, in whole or in part, because she suffered no damages

as a result of Defendant’s conduct.

          7.    Plaintiff’s damages, if any, were caused by the acts, negligence, or fault of other

persons or entities for whom Defendant is not legally liable or responsible.

          8.    Any recovery by Plaintiff is barred to the extent Plaintiff failed to make

reasonable efforts to avoid, mitigate or reduce the alleged damages.

          9.    Defendant is entitled to a set-off, should any damages be awarded against it, in the

amount of any damages or settlement amounts recovered by Plaintiff with respect to the same

alleged injuries. Defendant is also entitled to have any damages that may be awarded to Plaintiff

reduced by the value of any benefit or payment to Plaintiff from any collateral source.

          10.   Defendant at all times with respect to Plaintiff acted in good faith and

complied fully with its obligations under the FCRA.

          11.   To the extent that a violation of the FCRA is established, any such violation was

not willful and occurred despite the maintenance of policies and procedures to avoid such

violation.

          12.   Plaintiff does not have any standing under Article III of the Constitution because

she did not suffer an injury in fact and therefore there is no subject matter jurisdiction over her

claims.

          13.   To the extent that Plaintiff seeks an award of punitive damages, Defendant states

that such an award may be unconstitutional, violating the due process rights of Defendant, and

therefore, not recoverable against Defendant in this action. The Complaint is devoid of facts

sufficient to constitute an action against Defendant for punitive or exemplary damages.




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       14.     Defendant will rely upon all other defenses that are revealed by further

investigation, discovery or the presentation of evidence and reserves the right to file an amended

answer or other appropriate pleading as permitted by this Court.

       WHEREFORE, for the foregoing reasons, Defendant, Santander Consumer USA Inc.

respectfully requests that Plaintiff’s Complaint be dismissed with prejudice and that Defendant

be awarded its costs and expenses, including reasonable attorneys’ fees, and all other relief the

Court deems appropriate.


Dated: December 31, 2018                     Respectfully Submitted,
                                             SANTANDER CONSUMER USA INC.,

                                             By Counsel

                                             /s/ Alexander R. Green
                                             Alexander R. Green, Fed. Bar No. 20265
                                             LECLAIRRYAN PLLC
                                             2318 Mill Road, Suite 1100
                                             Alexandria, Virginia 22314
                                             Telephone: (703) 647-5976
                                             Facsimile: (703) 647-5988
                                             alexander.green@leclairryan.com

                                             Counsel for Defendant, Santander Consumer USA
                                             Inc.




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of December, 2018, the foregoing document was

filed via the CM/ECF system, which will send out a notification of filing thereof to all counsel of

record in this matter.


                                             /s/ Alexander R. Green
                                             Alexander R. Green, Fed. Bar No. 20265
                                             LECLAIRRYAN PLLC
                                             2318 Mill Road, Suite 1100
                                             Alexandria, Virginia 22314
                                             Telephone: (703) 647-5976
                                             Facsimile: (703) 647-5988
                                             alexander.green@leclairryan.com

                                             Counsel for Defendant, Santander Consumer USA
                                             Inc.




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